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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SONRAI SYSTEMS, LLC,                                  )
                                                      )
                      Plaintiff,                      )        Case No. 1:21-CV-02575
                                                      )
v.                                                    )        JURY TRIAL DEMANDED
                                                      )
WASTE CONNECTIONS OF CANADA, INC.,                    )        Honorable John Robert Blakey
                                                      )
                      Defendant.                      )

                            SECOND AMENDED COMPLAINT

       Plaintiff, Sonrai Systems, LLC (“Sonrai” or “Plaintiff”), by and through its undersigned

attorneys, alleges as follows with respect to its Complaint against Defendant, Waste Connections

of Canada, Inc. (“Defendant” or “Waste Connections”):

                                   NATURE OF THE CASE

       1.     This case is about theft and corporate greed. Sonrai, a largely family-owned

company, developed proprietary, confidential and game changing products and services in the

waste hauling industry. Waste Connections, a large waste hauling company and part of a large

international conglomerate, saw the value in Sonrai’s products and services. Initially, Waste

Connections partnered with Sonrai on using and deploying Sonrai’s products and services to Waste

Connections customers.

       2.     Unfortunately, after seeing the immense value of Sonrai’s products and services,

Waste Connections partnered with a rogue former Sonrai employee to steal Sonrai’s products and

services, and to use Sonrai’s products and services for its own benefit and without compensation

to Sonrai. Waste Connections also chose to stop honoring its contractual obligations to Sonrai.

       3.     As a result of the above conduct and as more fully explained below, Sonrai now

brings the following claims against Waste Connections: (1) common law civil conspiracy; (2)
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violation of the Federal Defend Trade Secrets Act; (3) violation of the Illinois Trade Secrets Act

and (4) breach of contract. In doing so, Sonrai seeks a) an order enjoining Waste Connections

from using Sonrai confidential information; b) an order requiring Waste Connections to return all

Sonrai confidential information to Sonrai; c) Sonrai’s attorneys’ fees and costs as a result of Waste

Connections’ willful and intentional misappropriation and use of Sonrai confidential information;

and d) monetary and exemplary damages for Waste Connections illegal acts.

                                         THE PARTIES

       4.      Sonrai is an Illinois limited liability company with its principal place of business

located in Naperville, Illinois. Sonrai is largely comprised of family members and all members are

residents of Illinois. Sonrai has extensive experience in equipment manufacturing and waste

collection.

       5.      Waste Connections of Canada, Inc. (“Waste Connections”) is a Canadian

corporation with its principal place of business located in Vaughn, Canada. Waste Connections

also has offices in Woodlands, Texas, and several of its officers and directors are located in

Woodlands, Texas. In addition, Waste Connections does business in the United States.

                                 JURISDICTION AND VENUE

       6.      This Court has original jurisdiction, pursuant to 28 U.S.C. §1331, because this

action involves a claim arising under the laws of the United States, the Defend Trade Secrets Act

of 2016, 18 U.S.C. §1832, et seq. This Court has supplemental jurisdiction over the remaining

claims pursuant to 28 U.S.C. § 1367.

       7.      This Court also has jurisdiction over this matter pursuant 28 U.S.C. §§ 1332(a)(1)

and 1332(a)(2) because a) Sonrai is an Illinois corporation with its principal place of business in

Naperville, Illinois and Waste Connections is a Canadian corporation with its principal place of




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business in Vaughn, Canada, and b) the amount in controversy for this matter is in excess of

$75,000.

       8.      Venue is appropriate in the United States District Court for the Northern District of

Illinois because Waste Connections conducted business in this District, and a substantial part of

the events and omissions giving rise to this cause of action occurred in this District. In addition,

Waste Connections’ parent company, Waste Connections, Inc. (“WCI”), removed this action from

Illinois state court to the United States District Court for the Northern District of Illinois with,

upon information and belief, the knowledge and approval of Waste Connections.

                                             FACTS

              Sonrai is the Technological Leader in the Waste Hauling Industry

       9.      Sonrai is a largely family owned information technology company specializing in

the waste hauling industry. With over a 100 years of combined experience in the waste hauling

industry and a focus on technology, automation and data collection, Sonrai provides its waste

hauling customers with a unique experience through its technological services and products.

Simply put, and as noted by Waste Connections’ own Director of Information Technology

Operations Applications, Sonrai’s services are a “game changer” in the waste hauling industry,

and Sonrai is the “gold standard” when it comes to innovative technology products and services

for the waste hauling industry, because Sonrai’s products and services allow waste haulers to

control their backroom and automation costs through the collection and dissemination of data.

       10.     Sonrai uses its knowledge and experience in the waste hauling industry to develop

highly confidential and proprietary technological products and services that, among other things,

collect data on truck chassis and the waste collection body of a garbage truck. For example, Sonrai

has developed its exclusive “event validation system” that, among other things, establishes a

computer based visual confirmation that the waste hauling service has been completed in real time


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on a satellite map to be viewed by the waste hauling truck fleet operator. This system gives the

fleet operator benefits in the areas of transit visibility, work order management, dispatch

operations, route optimization and tracking, and inventory asset optimization, among other

benefits.

       11.     Sonrai’s work in the area of event validation systems has been noted in the waste

hauling industry. In fact, and as reported in Forbes Magazine, Sonrai was the recipient of the

“sustainable partnership game changer award” for its “strategic plan of sustainable partnerships

that would modernize waste and recyclable collection for the 21st century.”

       12.     Another one of Sonrai’s “gold standard” technological products and services is

“Vector.”

       13.     Vector is a comprehensive telematics and vehicle information system for the waste

hauling industry. Vector enables a waste hauling truck fleet operator to monitor all relevant data

from the truck chassis and the waste collection body in nearly real-time. This provides fleet

operator benefits with respect to, inter alia, transit visibility, work order management, dispatch

operations, route optimization and tracking, inventory asset optimization and service verification.

       14.     The formulas and processes for the development of Sonrai’s Vector and RFID

technology is only known by a select few of Sonrai’s employees. Sonrai does not disclose the

formulas and processes for the creation of its technology to third parties.

       15.     Sonrai protects the confidential information described in paragraphs 9, 10, and 12,

13, and 14 by, among other things: limiting the disclosure and use of this information to only the

Sonrai employees who need this information to perform their duties on behalf of Sonrai;

developing and implementing procedures regarding the use and protection of confidential

information; obtaining a premier server for the storage of Sonrai confidential information;




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restricting access to this information by restricting access to computer networks and requiring the

use of passwords to access its networks; requiring employees to execute (through its affiliated

company ACES) written agreements that protect against the misuse and improper disclosure of

Sonrai’s confidential information; and entering into confidentiality agreements with companies

that will have access to Sonrai’s confidential information.

       16.     Sonrai receives a financial and economic benefit as a result of the above

information being kept confidential and not publicly available. Indeed, and as this Complaint

describes in more detail below, a Sonrai competitor would receive a significant economic benefit

and other industry advantages if the information was stolen and then used by a competitor.

       17.     Similarly, a Sonrai competitor could not easily replicate or reengineer the

confidential information identified in paragraphs 9, 10, 12, 13, and 14 without incurring significant

economic, technological and labor costs.

                       Sonrai Begins Working with Waste Connections

       18.     As a result of its confidential, proprietary and innovative services and products

(“services”), Sonrai began a business relationship with Waste Connections in 2013. At that time,

Waste Connections was known as BFI Canada, Inc. (“BFI”). On or about April 1, 2015, BFI

changed its name to Progressive Waste Solutions of Canada, Inc. (“Progressive”). After a series

of mergers, Progressive eventually became Waste Connections of Canada, Inc. (“Waste

Connections”). Consequently, the company that Sonrai did business with was Waste Connections

and Waste Connections has acknowledged through counsel to Sonrai that Waste Connections did

business with Sonrai and is the appropriate defendant for this matter.

       19.     Interested in Sonrai’s services, Waste Connections executives came to Sonrai’s

Chicago-area offices in mid-2013 to determine Sonrai’s ability to service Waste Connections’




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needs. Waste Connections met with Sonrai management, visited Sonrai’s offices and saw a

demonstration of some Sonrai’s products and services in Chicago and Carol Stream, Illinois.

       20.       After its on-site meeting with Sonrai in Chicago and Carol Stream, Illinois, Waste

Connections included Sonrai on a list of vendors who would be asked to submit a response to

Waste Connections’ Request For Information (“RFI”) relating to its In Vehicle System and Back

Office Operations Solutions.

       21.       On May 30, 2014, Sonrai submitted its Response to Waste Connections’ RFI.

Sonrai’s Response detailed the capabilities of various Sonrai products, including Vector.

       22.       Notably Sonrai did not disclose, and never has disclosed, the formulas and

processes for the creation of its Vector and RFID technology to Waste Connections.

       23.       Following the submission of Sonrai’s Response to Waste Connections’ RFI, Waste

Connections informed Sonrai that it had made it to the next round of consideration which would

involve on-site demonstrations. Waste Connections invited Sonrai to its corporate office in

Vaughn, Canada so that Sonrai could provide additional details and a technology demonstration.

       24.       In September 2014, after the Sonrai-Waste Connections meeting in Canada, Waste

Connections selected Sonrai’s Vector system as the system it would install in its trucks to collect

the data necessary to meet the requirements imposed upon Waste Connections by a Waste

Connections customer, the Region of Peel (a municipality in Canada).

       25.       Sonrai and Waste Connections also agreed to two “pilot areas” for the rollout of

Sonrai’s products and services on Waste Connections’ vehicles. The pilot areas were Toronto and

South Florida.

       26.       Sonrai met with Waste Connections in mid-November 2014 at its Naperville and

Chicago offices to discuss the pilot areas.




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         27.   Sonrai and Waste Collections also engaged in negotiations to have Sonrai’s Vector

system placed in all of Waste Connections’ 4,860 trucks. Prior to the placement of Sonrai’s

products and services in Waste Connections’ trucks, Sonrai and Waste Connections conducted

tests to aid in the determination of whether Waste Connections would deploy Sonrai’s Vector’s

services, as well as Sonrai’s RFID services.

         28.   Sonrai placed and tested 276 Vector units in Waste Connections trucks at five

Waste Connections sites. Sonrai also placed and tested 139 RFID units in Waste Connections

trucks at four different Waste Connections sites.

         29.   Sonrai incurred significant installation and testing expenses as a result of these

efforts. Sonrai was only reimbursed for a portion of its expenses by Waste Connections.

         30.   Waste Connections was pleased with the performance of Vector and RFID. Charles

Palmer (“Palmer”), Waste Connections’ Director of Information Technology Operations

Applications, praised the performance of Sonrai’s services and expressed his eagerness to have

Sonrai products and services placed in, and used by, all of Waste Connections’ trucks.

         31.   In fact, in a meeting with Sonrai on October 20, 2015 in Vaughan, Ontario, Canada,

Palmer declared that Sonrai’s services “[are] a game changer; nobody can touch us.”

         32.   That same day, Palmer proposed the following financial terms for the rollout of

Sonrai products and services on all 4,860 of Waste Connections’ trucks for a minimum of three

years: (1) the Vector device at a price of $246.70; (2) additional hardware including cables at $350

per truck; (3) an installation fee of $75 per truck; and (4) a monthly data fee of $45.29 per truck.

         33.   Palmer also proposed specific pricing for add-ons to be provided by Sonrai on an

as-needed basis, such as inclinometers for the older trucks in Waste Connections’ fleet and RFID

units.




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        34.    Waste Connections’ board of directors approved the terms of the proposed contract

for the use of Sonrai’s Vector fleet-wide and Waste Connections further stated that it would be

drafting a formal contract for execution.

        35.    Sonrai agreed to the terms put forth by Waste Connections and, as a result, issued

invoices in accordance with the terms identified in Paragraph 32. The invoices were signed by

Charles Palmer on behalf of Waste Connections. (A sample of the invoices signed by Palmer are

attached as Exhibit A).

        36.    The invoices identified, among other things, the number of Vector devices to be

used at certain Waste Connections “districts’ in the United States and Canada.

        37.    The invoices also identified the usage and data fees for Waste Connections’ use of

the services provided by Sonrai’s confidential information (i.e. Vector).

        38.    Finally, the invoices specifically stated that “by [Waste Connections] acceptance

of this order, [Waste Connections] understands that all devices purchased from Seller that are

linked to data usage plans … will have a three (3) year obligation to pay for the data service

contract.”

        39.    In simpler terms, Waste Connections agreed to pay the data service charges for the

use of Vector’s technology for three years from the first invoice for each Waste Connections

district.

        40.    Based upon the contract executed by Sonrai and Waste Connections, which terms

were memorialized in the invoices, Sonrai allowed Waste Connections to review the confidential

information housed in Vector so long as Waste Connections paid the usage fees for the Vector

service.




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        41.     Put another way, Sonrai granted a license to Waste Connections to use Vector so

long as Waste Connections paid for its use of Vector.

        42.     Consequently, and in reliance upon its agreement with Waste Connections, Sonrai

began submitting sales orders and invoices to Waste Connections in May 2014.

        43.     The sales orders covered, among other thing, the charges to Waste Connections for

its use of Vector.

        44.     Waste Connections paid these sales order and invoices through June 2018. Before

unilaterally refusing to pay the invoices, Waste Connections paid Sonrai over $950,000 for the use

of Vector technology and services.

               Waste Connections Realizes the Value of, and then Steals, Vector

        45.     Waste Connections recognized the tremendous value of Sonrai confidential

information (i.e. Vector), especially after Waste Connections secured a waste hauling contract for

the Region of Peel in Ontario, Canada.

        46.     Waste Connections worked with Sonrai employee Anthony Romano (“Romano”),

who was then Sonrai’s Executive Vice President, in the deployment of Sonrai’s technology at

various Waste Connections customer sites.

        47.     Romano wanted to have an ownership interest in Sonrai and, while working with

Waste Connections on the City of Peel opportunity, demanded from Sonrai a 20% ownership

interest in Sonrai.

        48.     Romano enlisted the help of Charles Palmer, Waste Connections’ Director of

Information Technology Operations Applications, to obtain an ownership interest in Sonrai.

        49.     Specifically, Palmer, in order to help Romano, demanded that Sonrai leaders “give

[Romano] 20% of [Sonrai].”




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       50.     Palmer made this demand during the setup of Vector with the Region of Peel and

the two (2) pilot programs.

       51.     Palmer demanded that Romano receive a piece of Sonrai and implied that if

Romano did not, then Sonrai’s relationship with Waste Connections would be in jeopardy.

       52.     Romano did not receive an ownership interest in Sonrai and resigned from Sonrai

on January 11, 2016.

       53.     Following his resignation, Waste Connections hired Romano through Optimum

Analytics, LLC, a company Romano formed, as a consultant to assist Waste Connections in

implementing a scheme to surreptitiously steal Sonrai’s Vector technology.

       54.     Unbeknownst to Sonrai, Romano, in order to help Waste Connections,

surreptitiously accessed Sonrai’s portal following his resignation in order to collect data needed to

assist Waste Connections in gaining control of the Vector technology Sonrai developed for Waste

Connections to use at the Region of Peel and elsewhere.

       55.     Waste Connections also worked with Romano, after Romano left his employment

with Sonrai, in developing and implementing a technology platform that would imitate Sonrai’s

technology.

       56.     Waste Connections, with Romano’s assistance, also enlisted the help of Geotab,

Inc. (“Geotab”), a Canadian company who supplied an ECM device which Sonrai used to support

Vector, so Waste Connections could cut Sonrai out of the project and deploy Vector across Waste

Connections’ entire fleet without having to compensate Sonrai for the use of Vector.

       57.     As part of its assistance, Geotab gave Waste Connections administrative access to

Sonrai’s website, which allowed Waste Connections to view route and other information of

Sonrai’s customers.




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         58.   Waste Connections was provided such access without the authorization of Sonrai

and without Sonrai’s knowledge.

         59.   Waste Connections knew that Sonrai would not give it administrative access to

Sonrai’s website and that seeking administrative access to Sonrai’s website through Geotab would

not be approved by Sonrai.

         60.   Nevertheless, Waste Connections obtained access to Sonrai’s website through

Geotab and, once having gained access to Sonrai’s website, Waste Connections changed the access

codes and then locked Sonrai out of its own website.

    Waste Connections Creates Fictional Complaints and Issues about Sonrai and then
                   Partially Terminates its Relationship with Sonrai

         61.   In order to justify its misconduct in taking over Sonrai confidential information and

technology, and to hide its tracks, Waste Connections began lodging system support complaints

against Sonrai regarding the accurate reporting of Vector data to purposely cause the relationship

between Sonrai and Waste Connections to deteriorate.

         62.   Sonrai responded immediately to Waste Connections’ complaints by meeting with

Charles Palmer and by conducting site inspections. While there was a brief period where Sonrai’s

software was down due to a necessary update of security certificates, Sonrai quickly resolved the

issue.

         63.   Moreover, the meeting with Palmer and the site inspections revealed that the failure

of Sonrai’s technology system to accurately report data occurred through no fault of Sonrai. Sonrai

observed that the failures were due to a faulty switch, which Waste Connections refused to remedy

by adding a new switch that had proven successful with Sonrai’s other customers.

         64.   Nevertheless, and in order to further its scheme to steal Sonrai confidential

information, on March 1, 2016, Waste Connections wrote Sonrai, “Effective March 1st, Waste



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Connections will be supported by the recommended Geotab supplier and will be moving all of our

units over to their support program.”

       65.     Although Waste Connections stated that it was terminating its relationship with

Sonrai on March 1, 2016, Waste Connections and Sonrai continued to discuss and negotiate their

relationship with Sonrai through November of 2017.

       66.     The discussions and negotiations between Sonrai and Waste Connections occurred

over the phone and in person.

       67.     For example, Sonrai and Waste Connections held a meeting on April 4, 2016 to

discuss the relationship between Sonrai and Waste Connections. Sonrai also met with Waste

Connections in Chicago in October of 2017 to discuss the possibility of moving forward. And an

additional meeting was held between Sonrai and Waste Connections in Houston, Texas on

November 4, 2017.

       68.     Moreover, Waste Connections continued to pay Sonrai for the right to use Vector

through June 2018, in accordance with the agreement Sonrai and Waste Connections had regarding

Waste Connections use of Vector’s technology, data, and services.

       69.     Notably, at no point in time prior to June, 2018, did Waste Connections claim that

it owned Vector or any of the data or technology for Vector.

       70.     Nor did Waste Connections claim, at any point in time prior to June 2018, that it

would keep or use Vector, or had the authority to keep or use Vector, after Waste Connections

stopped paying Sonrai for the use of Vector.

       71.     After June 2018, Waste Connections ceased paying Sonrai for its use of Vector and

also refused to return the Vector data, technology, and equipment (i.e., Sonrai confidential

information) to Sonrai.




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       72.     In other words, after June 2018 and when Waste Connections ceased paying for

Vector, Waste Connections misappropriated Sonrai confidential information by retaining and

using Vector without Sonrai’s permission.

       73.     As a result of Waste Connections’ actions, and with the help of Romano and

Geotab, Sonrai confidential information was (and still is) being used by Waste Connections

without Sonrai’s authorization.

       74.     Sonrai did not know, however, the extent of Waste Connections misuse of Sonrai

confidential information until February 2020.

       75.     In February 2020, the Region of Peel contacted Sonrai asking for technical help to

solve a service problem relating to Vector. The Region of Peel provided Sonrai with passwords

which permitted Sonrai to learn that Waste Connections is using Vector throughout Canada and

the United States.

                                  Irreparable Harm to Sonrai

       76.     Injury and harm to Sonrai has occurred and will continue to occur because Waste

Connections continues to possess and use Sonrai confidential information without Sonrai’s

authorization or permission.

       77.     Similarly, Waste Connections has harmed, and is continuing to harm, Sonrai’s

legitimate business interests by, inter alia, retaining, misusing, and refusing to return Sonrai

confidential information.

       78.     This is especially true since Sonrai recently learned that Waste Connections is using

Sonrai’s stolen confidential information throughout the United States and Canada.

       79.     In addition, Waste Connections can publicly disseminate Sonrai’s confidential

information that is illegally in Waste Connections’ possession, thereby destroying the economic




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and non-economic benefits Sonrai receives as a result of the confidential information being

confidential. Waste Connections can also potentially share Sonrai confidential information with

third parties who have no right to see or possess such information, which would also cause

additional harm to Sonrai.

       80.     Hence, Sonrai’s confidential information, business interests, and goodwill are at

significant risk because Waste Connections misappropriated Sonrai’s confidential information.

       81.     Accordingly, Sonrai is suffering irreparable harm and injunctive relief is necessary

and appropriate to prevent further damage to Sonrai.

                                          COUNT I
                                 (Common Law Civil Conspiracy)

       82.     Plaintiff realleges and incorporates Paragraphs 1 through 81 of this Complaint as

though fully set forth herein.

       83.     Waste Connections colluded with Romano and Geotab to gain control of Sonrai’s

Vector system and to cut Sonrai out of the plan to deploy Sonrai’s Vector technology in Waste

Connections’ fleet of disposal trucks.

       84.     Waste Connections carried out its scheme in part by employing Romano as a

consultant to assist in the surreptitious implementation of Sonrai’s Vector system at the Region of

Peel. Through its relationship with Romano and Geotab, Waste Connections obtained improper

access to Sonrai’s confidential information.

       85.     Geotab improperly granted Waste Connections administrative access to Sonrai’s

website which permitted Waste Connections to take control of the website, lock Sonrai out of its

own technology, and use that technology without paying Sonrai.

       86.     Sonrai has incurred damage as a result of Waste Connections’ unpaid use of Sonrai

confidential information (i.e. Vector).



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                                           COUNT II
                  (Violation of the Defend Trade Secrets Act 18 USCS § 1832)

        87.     Plaintiff realleges and incorporate Paragraphs 1 through 86 of this Complaint as if

fully set forth herein.

        88.     During the course of its relationship with Sonrai, Waste Connections was provided

access to substantial amounts of Sonrai confidential information, including the confidential

information identified in Paragraphs 9, 10, 12, 13, 14, 19 and 22.

        89.     This information is not available to the general public and is closely guarded by

Sonrai. Sonrai keeps such information strictly confidential in order to protect and maintain its

competitive advantage. The economic value of this information is over $1,000,000.

        90.     Sonrai confidential information, including the confidential information identified

in Paragraphs 9, 10, 12, 13, 14, 19 and 22, is a trade secret under the Defend Trade Secrets Act,

18 U.S.C. § 1832, et seq. (“DTSA”), because the information is not generally known outside of

Sonrai; the information is not generally known by employees and others involved in Sonrai’s

business except for those who need the information to perform their job function; Sonrai has taken

reasonable measures to guard the secrecy of the information; the information is of great value to

Sonrai; Sonrai invested significant amounts of time and money in developing the information; the

information cannot easily be acquired or duplicated by others; and because Sonrai uses the

information in its business.

        91.     Waste Connections was legally and contractually obligated to return Sonrai

confidential information to Sonrai when it ceased paying for the right to access and use Sonrai

confidential information in June 2018.




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       92.      Waste Connections knew that, after it stopped paying for the right to access and use

Sonrai confidential information in June 2018, it was no longer authorized to receive, possess, or

access Sonrai confidential information.

       93.      Unfortunately, Waste Connections ignored (and continues to ignore) its obligations

to Sonrai and misappropriated Sonrai’s confidential information in June 2018 (i.e. after it stopped

paying for the right to use Sonrai confidential information and refused to return the confidential

information).

       94.      In addition and based upon information and belief, Waste Connections engaged in

other acts of misappropriation that will be revealed through discovery.

       95.      Unless restrained, and based upon the activity described above, Waste Connections

will continue to use, divulge, and/or disclose Sonrai confidential information.

       96.      It is axiomatic that if Waste Connections continues to possess Sonrai confidential

information, then Waste Connections has no intention of complying with the DTSA.

       97.      Consequently, Waste Connections’ actions constitute the actual misuse of Sonrai

confidential information. Injunctive relief against Waste Connections is therefore appropriate.

       98.      Naturally then, Sonrai requests an order enjoining Waste Connections from

accessing, using, or possessing Sonrai confidential information.

       99.      Sonrai also requests an order requiring Waste Connections to return any and all

Sonrai confidential information to Sonrai as provided by 18 U.S.C. § 1836(3)(A)(ii).

       100.     In addition, Sonrai has incurred significant damages as a result of Waste

Connections’ misappropriation of Sonrai trade secrets.

       101.     For example, Sonrai was prevented by the misconduct of Waste Connections from

reaping the benefits of the success of Vector.




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        102.    Waste Connections’ actions have also damaged Sonrai’s goodwill, reputation, and

legitimate business interests. Sonrai’s damages, described above, are well in excess of $75,000.00,

and Sonrai seeks monetary and economic damages provided by 18 U.S.C. § 1832 et seq.

        103.    Finally, Waste Connections’ misappropriation of Sonrai confidential information

has been willful and malicious. As a result, Sonrai is entitled to recover its attorneys’ fees from

Waste Connections.

                                            COUNT III
                    (Violation of Illinois Trade Secrets Act 765 ILCS 1065/4)

        104.    Plaintiff realleges and incorporates paragraphs 1 through 103 of this Complaint as

if fully set forth herein.

        105.    During the course of its relationship with Sonrai, Waste Connections was exposed

to substantial amounts of Sonrai confidential information, including the confidential information

identified in Paragraphs 9, 10, 12, 13, 14, 19 and 22.

        106.    This information is not available to the general public and is closely guarded by

Sonrai. Sonrai keeps this information strictly confidential in order to maintain a competitive

advantage over its competitors.

        107.    This information is considered a trade secret under the Illinois Trade Secrets Act

(“ITSA”), 765 ILCS § 1065/et al., because Sonrai derives independent economic value from this

information not being generally known to the public, the information is not readily ascertainable

by proper means by other persons who could obtain economic value from its disclosure or use, and

the information is the subject of reasonable efforts to maintain its secrecy.

        108.    The economic value of the Sonrai trade secrets/confidential information that Waste

Connections had access to and misappropriated is over $1,000,000.

        109.    Waste Connections misappropriated Sonrai trade secrets in June 2018.



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       110.    Based upon information and belief, Waste Connections also engaged in other acts

of misappropriation that will be revealed through discovery.

       111.    Injunctive relief is therefore appropriate, and Sonrai requests that this Court enter

an order enjoining Waste Connections from using, possessing, or accessing any Sonrai confidential

information and from disclosing Sonrai confidential information to anyone not authorized to

receive the confidential information.

       112.    Sonrai also requests that this Court enter an order requiring Waste Connections to

return any and all Sonrai confidential information.

       113.    Sonrai has incurred significant damages as a result of Waste Connections’

misappropriation of Sonrai trade secrets.

       114.    For example, Sonrai was prevented by the misconduct of Waste Connections from

reaping the benefits of the success of Vector.

       115.    Waste Connections actions have also damaged Sonrai’s goodwill, reputation, and

legitimate business interests. Sonrai’s damages, described above, are well in excess of $75,000.00,

and Sonrai seeks monetary and economic damages provide by 765 ILCS at § 1065/1 et al.

       116.    Finally, Waste Connections’ misappropriation of Sonrai confidential information

has been willful and malicious. As a result, Sonrai is entitled to recover its attorneys’ fees from

Waste Connections.

                                            COUNT IV
                                        (Breach of Contract)

       117.    Plaintiff realleges and incorporates Paragraphs 1 through 116 of this Complaint as

though fully set forth herein.

       118.    As identified in the invoices, Sonrai and Waste Connections had an agreement

whereby Sonrai would provide Waste Connections with Vector and, in exchange, Waste



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Connections would pay Sonrai for the Vector device, usage, and data fees for Waste Connections’

use of the data and information contained in Vector.

         119.   Waste Connections agreed to pay usage and data fees for Vector for three years.

         120.   Sonrai has performed all of the duties and obligations it owes under the contract.

         121.   Waste Connections, however, has not complied with the duties and obligations it

owes under the contract.

         122.   Specifically, Waste Connections breached the contract by not returning the Vector

devices and not paying all of the usage and data fees it owes Sonrai.

         123.   Prior to March 1, 2018, Waste Connections failed to pay Sonrai $311,218.66 in

usage and data fees. (A summary of the owed fees prior to March 1, 2018 is attached as Exhibit

B).

         124.   From March 1, 2018 to March 1, 2020, Waste Connections failed to pay Sonrai

$354,119.21 in usage and data fees.

         125.   According, Sonrai’s total damages arising out of Waste Connections’ breach of the

contract between Sonrai and Waste Connections is $665,337.87.

         126.   In addition, Sonrai is entitled to pre-judgment interest at a rate of 5% per annum.

         127.   Sonrai demands a jury trial.

         WHEREFORE, Plaintiff Sonrai Systems, LLC requests that this Court:

         a)     Enter an injunction enjoining and restraining Waste Connections, and all those

acting in concert or participation with it, from using, possessing, disclosing, or having access to

any Sonrai confidential information;

         b)     Enter an order requiring Waste Connections to return all Sonrai confidential

information to Sonrai;




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       c)     Award Sonrai its attorneys’ fees and costs as a result of Waste Connections’ willful

and intentional misappropriation and use of Sonrai confidential information;

       d)     Award Sonrai monetary damages based upon Waste Connections’ misconduct;

       e)     Award Sonrai such other relief as the Court may deem just and proper.



Dated: February 25, 2022                            Respectfully submitted,
                                                            /s/ J. Scott Humphrey
                                                    J. Scott Humphrey
                                                    Manish Mehta
                                                    Katie Burnett
                                                    Samuel Ruggio
                                                    Samantha Roth
                                                    BENESCH, FRIEDLANDER, COPLAN &
                                                    ARONOFF LLP
                                                    71 S. Wacker Dr., Suite 1600
                                                    Chicago, Illinois 60606-4637
                                                    Telephone: 312-212-4949
                                                    Facsimile: 312-767-9192




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on February 25, 2022, he served a copy of the foregoing
on all counsel of record via electronic case filing procedures.



                                                                   /s/ J. Scott Humphrey

                                                           One of the Attorneys for Plaintiff
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            Exhibit A
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            Exhibit B
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WASTE CONNECTIONS WASTE SOLUTIONS
BALANCES DUE ON BILLINGS TO DATE

                             Feb-16

           LOCATION                   INVOICE DATE   INVOICE #    BALANCE         DESCRIPTION                                                         AMOUNT   CHECK NUMBER   DATE
                                                                                                                                                      PAID


COQUITLAM P625                        8/1/2014       0501720-IN   $ 850.00        Modem fees for 10 modems in Coquitlam
25 Fawcett Road                       9/2/2014       0501773-IN   $ 850.00        Modem fees for 10 modems in Coquitlam
Coquitlam, BC V3K 6V2                 3/1/2015       0502109-IN   $ 850.00        Modem fees for 10 modems in Coquitlam
                                      6/1/2015       0502297-IN   $ 850.00        Modem fees for 10 modems in Coquitlam
                                      6/16/2015      0033720-IN   $ 390.00        Vector for simulator shipped to Vaughn - rebill to Vaughn
                                      6/16/2015      0033816-CM   ($ 390.00)      Credit for vector
                                      7/1/2015       0502344-IN   $ 850.00        Modem fees for 10 modems in Coquitlam
                                      7/20/2015      0033721-IN   $ 26,853.27     Vectors, installation, 1st months data at Region of Peel - rebill
                                                                                  vectors and data to Brampton, Ontario
                                      9/1/2015       0502683-IN   $ 850.00        Monthly modem fees Sept 2015
                                      10/1/2015      0502684-IN   $ 850.00        Monthly modem fees Oct 2015
                                      11/1/2015      0502685-IN   $ 850.00        Monthly modem fees Nov 2015
                                      11/12/2015     0033814-CM   ($ 26,853.27)   Credit for vectors, installation, data
                                      11/12/2015     0033818-IN   $ 1,700.00      Modem fees 10 modems for June and July 2014 not billed
                                      12/1/2015      0502701-IN   $ 850.00        Monthly modem fees Dec 2015
                                      1/1/2016       0502817IN    $ 850.00        Monthly modem fees Jan 2016
                                      2/1/2016       502861-IN    $ 850.00        Monthly modem fees Feb 2016


                                                                  $ 11,050.00     Total Coquitlam


                                      1/9/2015       0033553-IN   $ 35,200.00     Installation and landing for Surrey
                                      2/1/2015       0502457-IN   $ 3,485.00      February modem and data fee for Surrey
                                      3/1/2015       0502458-IN   $ 3,485.00      March modem and data fee for Surrey
                                      4/1/2015       0502459-IN   $ 3,485.00      April modem and data fees for Surrey
                                      5/1/2015       0502460-IN   $ 3,485.00      May modem and data fees for Surrey
                                      6/1/2015       0502534-IN   $ 3,485.00      June modem and data fees for Surrey
                                      7/1/2015       0502535-IN   $ 3,485.00      July modem and data fees Surrey
                                      8/1/2015       0502536-IN   $ 3,485.00      August modem and data fees Surrey
                                      8/1/2015       0502424-IN   $ 3,485.00      Monthly modem fees for Surrey billed at incorrect amount.
                                                                                  Correct amount for both modems and vectors Feb 2015-Nov
                                                                                  2015 above
                                      9/1/2015       0502537-IN   $ 3,485.00      September modem and data fees for Surrey
                                      10/1/2015      0502538-IN   $ 3,485.00      October modem and data fees for Surrey
                                      11/1/2015      0502678-IN   $ 3,485.00      November modem and data fees for Surrey
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WASTE CONNECTIONS WASTE SOLUTIONS
BALANCES DUE ON BILLINGS TO DATE

                             Feb-16

            LOCATION                  INVOICE DATE   INVOICE #    BALANCE        DESCRIPTION                                                          AMOUNT      CHECK NUMBER    DATE
                                                                                                                                                      PAID
                                      11/12/2015     0033835-CM   ($ 3,485.00)   Credit monthly modem fees Surrey
                                      12/1/2015      0502726-IN   $ 1,742.50     December 2015 modem fee
                                      12/1/2015      0502727-IN   $ 1,742.50     December 2015 monthly data fees
                                      1/1/2016       0502821-IN   $ 1,742.50     Jan 2016 modem fee
                                      1/1/2016       0502827-IN   $ 1,742.50     Jan 2016 data fees
                                      2/1/2016       0502872-IN   $ 1,742.50     Feb 2016 modem fee
                                      2/1/2016       0502873-IN   $ 1,742.50     Feb 2016 data fee


                                                                  $ 80,505.00    Total Surrey


REGION OF PEEL P618                   10/2/2015      0033790-IN   $ 3,033.00     53 harnesses/cables                                              $    3,033.00       700000455      1/19/2016
290 Clarence Street                   10/20/2015     0033861-IN   $ 2,215.20     6 vector systems                                                 $    2,215.20       700000477      1/28/2016
Brampton, ON L6W 1T4                  11/12/2015     0033815-IN   $ 23,428.27    Rebill of vectors, harnesses, 1st months data management
                                                                                 fees excluding installation                                      $   23,428.27       700000455      1/19/2016
                                      11/12/2015     0502523-IN   $ 2,835.00     Monthly data fees for November 2015                              $    2,835.00       700000455      1/19/2016
                                      12/1/2015      0502702-IN   $ 3,105.00     Monthly data fees for Dec 2015
                                      12/14/2015     0033860-IN   $ 16,615.00    Observation assemblies                                           $   16,615.00       700000477      1/28/2016
                                      12/14/2015     0033859-IN   $ 1,375.00     Vector OBDII ext                                                 $    1,375.00       700000477      1/28/2016
                                      1/1/2016       0502824-IN   $ 3,285.00     Monthly data fees for Jan 2016
                                      2/1/2016       0502870-IN   $ 3,285.00     Monthly data fees for Feb 2016
                                      2/25/2016      33916-IN     $ 15,900.58    Consulting for ESRI arcGIS zone management for the portal
                                      2/25/2016      33917-IN     $ 1,508.50     5 vectors


                                                                  $ 76,585.55    Total Region of Peel
BARRIE P616                           1/7/2016       0033881-IN   $ 34,447.50    75 vector systems
320 Saunders Road                     2/1/2016       502860-IN    $ 3,375.00     Monthly data fees for Feb 2016


Barrie ON, L4N9Y2                                                 $ 37,822.50    Total Barrie


COLLIER P354                          5/9/2014       0033154-IN   $ 4,554.14     Purchase of 6 modems
12 Jefferson Ave W                    3/5/2015       0033542-IN   $ 4,536.00     Incorrect billing for 9 months of modem fees for Collier which
                                                                                 were billed and paid monthly
Immokalee, FL 34142                   11/12/2015     0502679-IN   $ 240.00       Rebilled August 2015 monthly modem GPS fees to Collier
                                      11/12/2015     0033826-IN   $ 480.00       Modem GPS fees 6 modems for May and June 2014 not
                                                                                 billed
                                      11/12/2015     0502680-IN   $ 240.00       Monthly modem fees Sept 2015
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WASTE CONNECTIONS WASTE SOLUTIONS
BALANCES DUE ON BILLINGS TO DATE

                             Feb-16

             LOCATION                 INVOICE DATE   INVOICE #    BALANCE        DESCRIPTION                                                AMOUNT   CHECK NUMBER   DATE
                                                                                                                                            PAID
                                      11/12/2015     0502681-IN   $ 240.00       Monthly modem fees Oct 2015
                                      11/12/2015     0502682-IN   $ 240.00       Monthly modem fees Nov 2015
                                      11/13/2015     0033845-CM   ($ 4,536.00)   Credit 9 months Collier modem fees
                                      12/1/2015      0502725-IN   $ 240.00       Monthly modem fees Dec 2015
                                      1/1/2016       0502816-IN   $ 240.00       Monthly modem fees Jan 2016
                                      2/1/2016       0502864-IN   $ 240.00       Monthly modem fees Feb 2016


                                                                  $ 6,714.14     Total Collier


HILLSBOROUGH P360                     8/14/2015      0033732-IN   $ 11,795.50    RFID truck system
1601 N. 34th Street                   9/1/2015       0502686-IN   $ 5,360.00     Hillsborough monthly modem fees Sept 2015
Tampa, FL 33605-5704                  9/1/2015       0033796-IN   $ 22,225.95    2 RFID truck systems
                                      9/1/2015       0033798-IN   $ 364.56       Maintenance truck 200762
                                      9/1/2015       0033799-IN   $ 144.45       Maintenance truck 200779
                                      9/1/2015       33800        $ 168.53       Maintenance truck 200782
                                      9/1/2015       0033797-IN   $ 375.36       Maintenance truck 200756
                                      11/12/2015     0033819-IN   $ 11,235.00    15 modems in 300 series trucks purchased in May 2014 not
                                                                                 billed
                                      11/12/2015     0033820-IN   $ 3,880.00     Adjustment for modem fees from Aug 2014 to Aug 2015. See
                                                                                 separate schedule
                                      11/12/2015     0502687-IN   $ 5,360.00     Hillsborough monthly modem fees Oct 2015
                                      11/12/2015     0502688-IN   $ 5,360.00     Hillsborough monthly modem fees Nov 2015
                                      12/1/2015      0502717-IN   $ 5,190.00     Hillsborough monthly modem fees Dec 2015
                                      1/1/2016       0502819-IN   $ 5,190.00     Hillsborough monthly modem fees Jan 2016
                                      2/1/2016       0502866-IN   $ 5,190.00     Hillsborough monthly modem fees Feb 2016


                                                                  $ 81,839.35    Total Hillsborough


MIAMI P386                            7/1/2015       0502692-IN   $ 810.00       Monthly data fees July 2015
3840 Nw 37th Ct                       8/1/2015       0502693-IN   $ 810.00       Monthly data fees Aug 2015
Miami, FL 33142                       9/1/2015       0502694-IN   $ 810.00       Monthly data fees Sept 2015
                                      10/1/2015      0502695-IN   $ 810.00       Monthly data fees Oct 2015
                                      11/1/2015      0502696-IN   $ 810.00       Monthly data fees Nov 2015
                                      12/1/2015      0502728-IN   $ 810.00       Monthly data fees Dec 2015
                                      1/1/2016       0502825-IN   $ 810.00       Monthly data fees Jan 2016
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WASTE CONNECTIONS WASTE SOLUTIONS
BALANCES DUE ON BILLINGS TO DATE

                                   Feb-16

             LOCATION                       INVOICE DATE   INVOICE #    BALANCE         DESCRIPTION                                           AMOUNT   CHECK NUMBER   DATE
                                                                                                                                              PAID
                                            2/1/2016       0502867-IN   $ 810.00        Monthly data fees Feb 2016


                                                                        $ 6,480.00      Total Miami


SEBRING P356                                5/5/2014       0033151-IN   $ 11,235.00     Modems in Sebring moved to and paid in Lake County
5151 Kenilworth Blvd                        7/1/2015       0502370-IN   $ 675.00        Sebring duplicate monthly data fees
Sebring FL 33870                            11/12/2015     0033823-IN   $ 6,801.29      Modem removal and vector installation in Sebring
                                            11/12/2015     0033824-IN   $ 1,350.00      Adjustment to data fees from May 2014-Aug 2015. See
                                                                                        separate schedule
                                            11/12/2015     0033821-CM   ($ 11,235.00)   Credit modems moved to and paid in Lake County
                                            11/12/2015     0033822-CM   ($ 675.00)      Credit Sebring duplicate monthly data fees
                                            12/1/2015      0502732-IN   $ 675.00        Monthly data fees Dec 2015
                                            1/1/2016       0502826-IN   $ 675.00        Monthly data fees Jan 2016
                                            2/1/2016       0502865-IN   $ 675.00        Monthly data fees Feb 2016


                                                                        $ 10,176.29     Total Sebring


LAKE COUNTY P348                            12/1/2015      0502731-IN   $ 1,190.00      Monthly modem fees Dec 2015
3935 Rogers Industrial Park Blvd            1/1/2016       0502820-IN   $ 1,190.00      Monthly modem fees Jan 2016
Okahumka, FL 34762                          2/1/2016       502862-IN    $ 1,190.00      Monthly modem fees Feb 2016


                                                                        $ 3,570.00      Total Lake County


CORPUS CHRISTI P400                         12/31/2015     0033880-IN   $ 10,817.50     25 vector systems
2303 County Road 30                         2/1/2016       0502868-IN   $ 1,125.00      Monthly data fees Feb 2016
Corpus Christi, TX 78415-6965
                                                                        $ 11,942.50     Total Corpus Christi


VAUGHAN P502                                11/12/2015     0033817-IN   $ 390.00        Rebill simulator vector from Coquitlam
400 Applewood Crescent                      11/12/2015     0502697-IN   $ 650.00        Bill for 2 vectors in Vaughn not previously billed
2nd Flr                                     12/1/2015      0502828-IN   $ 180.00        Monthly data management fee Dec 2015
Vaughan, ON L4K0C3                          1/1/2016       0502729-IN   $ 180.00        Monthly data management fee Jan 2016
                                            2/1/2016       0502869-IN   $ 180.00        Monthly data management fee Feb 2016
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WASTE CONNECTIONS WASTE SOLUTIONS
BALANCES DUE ON BILLINGS TO DATE

                             Feb-16

            LOCATION                  INVOICE DATE   INVOICE #    BALANCE         DESCRIPTION                                                     AMOUNT      CHECK NUMBER   DATE
                                                                                                                                                  PAID
                                                                  $ 1,580.00      Total Vaughn


DC METRO P153                         10/23/2015     0099810-IN   $ 540.00        Inspect and trouble shoot CWDC-0001
2911 52nd Ave                         11/12/2015     0033827-IN   $ 595.00        DC School monthly modem fee from Feb 2015-Aug 2015
Hyattsville, MD 20743                 11/12/2015     0502691-IN   $ 85.00         DC monthly modem fees Nov 2015
                                      11/13/2015     0502689-IN   $ 85.00         DC monthly modem fees Sept 2015
                                      11/14/2015     0502690-IN   $ 85.00         DC monthly modem fees Oct 2015
                                      12/1/2015      0502733-IN   $ 85.00         DC monthly modem fees Dec 2015
                                      1/1/2016       0502818-IN   $ 85.00         DC monthly modem fees Jan 2016


                                                                  $ 1,560.00      Total DC Metro


WINNIPEG P141                         10/5/2015      0033779-IN   $ 2,167.00      2 vector systems Winnipeg, data management fees Jan 2015
                                                                                  to Dec 2015
375 Oakpoint Highway                  12/1/2015      0502729-IN   $ 90.00         Monthly data fees Dec 2015
                                      12/31/2016     0502953-CM   ($ 90.00)       Monthly data fees December 2015 credited for billing with
                                                                                  purchase on invoice 0033779-IN
Winnipeg, MB R3C2Z6                   1/1/2016       0502829-IN   $ 90.00         Monthly data fees Jan 2016
                                      2/1/2016                    $ 90.00         Monthly data fees Feb 2016


                                                                  $ 2,347.00      Total Winnipeg


LEE COUNTY P355                       12/9/2015      0033842-IN   $ 28,052.80     Installation of 37 vectors
5594 6TH St W                         1/1/2016       0502830-IN   $ 1,665.00      Monthly data fees Jan 2016
Lehigh Acre, FL 33971                 2/1/2016       0502864-IN   $ 1,665.00      Monthly data fees Feb 2016


                                                                  $ 31,382.80     Total Lee County


TOTAL INVOICED TO DATE                                            $ 363,555.13
LESS PAYMENTS APPLIED                                             ($ 49,501.47)                                                               $   49,501.47
LESS UNAPPLIED PAYMENT                                            ($ 2,835.00)


TOTAL DUE TO SONRAI                                               $ 311,218.66
